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                             EXHIBIT A
Case 8:23-cv-01806-JVS-ADS Document 1-1 Filed 09/27/23 Page 2 of 8 Page ID #:5




 1    JEFFRE~ . BEN] E. ESQ, ( BN 8 1583)
      B      ICELAW
 2    A Profe ional Lm         orporoti.rm
      308:0 Brlsmol Stroot
 3      ixlh Ff r? SuitJ 630
 4    Cosm Mesai~ CA 92626
   Tel . hon : (7l4) 641 -.3600
 5 Facsimile: (71 4) 64 1- 604
      \\ •       ; •               iti,Wlll
 6    E..mail.: j:s                .corn
 1
      A:womey for Plaintiff,
 8    Tim Cross LLC
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                             S-UPERJOR COURT F'OR THE ,STAT OF CALLFORNlA
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                             COU TY OF ORANGE- Cl£ rRAL JU TICE CE TER
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      TIM CROSS, lLC 1 a Plruida limited JiabiUty       CASE NO :3:0 -2 029,01:3 435 55-tU-BC-CJC.
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l4                                                      I    OMPLAI            FOR·

1:5                            Pl intiff.
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                                                        3. VIOLATION OF PENAL CODE §4·96(C);
J8    ASSOCJAliED ADJU TERS. NETWORK~                       !\ND
      I . C . aka AA ; a 1e:wwessee co:rpcmttion; -nd
19       0 ' · l through 20~ inclusive,,
                                                        4. BREACH OF CONTRAC1 .
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                               Defend t .
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 2    [ T... ..   Plamlif(Cross"), aDe.ges agaiiruil Defe:ncbrllll Associated Adjuster · Nctv,•o.dtt Inc . , kn AAN, a
 3      e~,s~ · ,oorporatfon ('~Defendant .AA.N''); IDOES l through 20, .and each. Qf lh«n, n~ fo[I W'S:
 4                                                                     l.
 5                                                    S.UltlMARYOP ACTIO '
 6                1.      :In • .tember 2017 Plain i:ffCros began w-0rking as an lndependcn.t Adjuster . t~iA") at
 7    Defe:nthm!, MN . Plaintiff cnkrod into an '~ . djusl(!J• Agt1ee- uml .rmd ,4aknawled'gemenl' (the ''Adjusi~r
 S.     gre.emen(1 with Deferidlant M • . Phi.in.tifPs princi:pal 1 Tim C ~ at!.Cildod ti.alnin~ at Defendanit
 9    AA ., s loca1t1on. in. Knoxvillet 1N to becom.o an Emergoncy C3ta tr •p.he Adjwste:r for Hurricane Irma.
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1]    December 30~ 2i019 A,greemem.J
12                2.      A:n lA is a 1099 Cantraclo:r •hal ti:OCJ.ves. claims from h:1...wmnoe cornpruti                  ,(1-<Ca,.rters'')
·13   llu.cmgh 41'm'Jddl.e11w11" knoY.n :iiS :adj usling fums: ("' Ji l'nrii). Fim1s numorouti: [A ·s signed 1:1p on dud.Ii
14    rootcr.s.. Th: C1uriers ·ertd dci.:ms to the Firms wlm th               azisi:g the c:1,a!ms to the IA s. ][}efendnnl AA .
15    ·is a l<'lnn. ,:he Carrie.r h s M'I ag~eed upon •"jeio sc-he<luli"' that dictat,e,s how nu1ch they '91.1i.H paiy lhe Fmn
16    for tlle wmk (the • imate and s1.1ppo:rth1g doc,w.neuts). The F,ee S. OOl!lle i.s: ge:nm-aHy dt er ... . Flat Fee •
17    OIi' ii -~Tiered Fee". A fiat fee · .,one foo; 1m mmte,r how much ·me _ .i:nIBkid damage i . A iered fee is a    I




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19    2,:50-0= . JOO; 2,500-5,000= $450· • 5;Ct<t)O~lOlOaMti:50. he Carner pay~ the Firm directly. The firm
20    ~encrally htls ~ price pHl ns,reemen ,v.irth tti.c. lA. th t is bMed ,on pe.rce:mag.c. 1'..•loot agreeme:rrb me
21 60/4}0, 6513,5, Md 70130;.wi h ·the, larger number oiog to bi IA and Ore Firm keeping:the lower n,um.bcr
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23,               3,       During the training w.ifh Dcfo.nd' l .AAN~Defendan,t AA • re.presented to Plamtlff that
24    0 ) • AN 1J1ti!ized a 60/40 split; (2) Pia.indffwou d be dcpk; oo to Florhfa fm the Hlllrkane Irma·. anti (J)

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28    J:minrrrlmt:nior." De/emlant AAN pruv,id't.d PJa/.n,t ljfwitl, lhe/ee dhull,ks that. (l/re.ady· had tile mnt,h




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 4 week late~~ P]ainti'tf Fee iwd. a ooll from D _fe:ndattt AAN asldns if Plaintiff ~ a •allabie to deploy ro
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 6 I befi l't .ret ming lo 1"cllILCis-sce. From tlie Chicago depk11ymenl to daite, l:rlnti:ff bas complet-ed. thousands
 7'   of c.l aims without a prov'<ded ;vriter ,or as I taru:ie from Defenchmt A.AN.
                       Plaintiff is m1.rrently res.~d±ng in C-aliforniai and receivin claims from Jt]l!l!ti.ple fi:rms,
 9    'Plni tiff dis00V'C'rccd in or :aboul 2023, ·when h be-gan working ·with. addi1iomil Fim1s, that.Defi nd'aiil
lO    AAN·was llte,· o~ly,Ji.r-.m thaJ motllfitd tJi,,efee. cl;edllle dv-c.'ume,ni!sfrom tli'e carri,er be/or~pas.sin·g
ll    ,11,em. 0,n Jo .tht! Lt Othe:r :firms provid   the ,cam ~r's fee sooedu[ to the [A, ttnd 'the IA doe its own ffiBth
12    lO calcl.llate th IA' s. portion of the fee.

13            6.
14    Insunmc • Carric-r Ame-ricm1 Family had r ea,se-d a new f-eie sche-dule and forwar-doo Pia              f !;!. copy.
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16     • ·n_teri,Ca.tl •a.tr!il:,' Daily •atio:mil Fee Schei:hi le,] That .s ame:~ Phiintiff al o received ·th ,new fee·
17    s.chc--d1.dc dhc:ctly from 'Defend.Mt A . [ ttach.ed hem to as Exhibit '~c, 811.d inoorp roted by refi re.nee
1     j,s a true a '- correct oo_py of the Defendant AAN 's Daily ~ti.on ,1Fee cl1edule ]
19             1.      Upon comparison of the two fee schedules, Plaintiff discov-cred that AA··- ha: removed
20    the      for cat'.LCeMed clai.11~. Pfaintiff performed the maith bruied lJP(!lll tl e new fe.-e schedrule a.nd.
21    disc-overoo that De:foo.dan •t\AN's fee schedule ~ fraudulently mis.represented to Plaintiff and not
22    true 60/40 plit. Each tier had an ad'ditional CODCE!aloo _:52.:50 lak.~n 1rom. the fe for each 't ru,s£1.c1.iofl
23    without Plaiilltiff' s consent or kilo ledge.
24             :S.      Plnintiff estimate-.s: that Dcfoodant - AN hais m'isappropria1ed ha funds,due to Plaintiff iln
25     ft_n ~ou·n ofno le~ than S2:5~000 during the period 201 7 lo 20QJ. Plai titf :accordingly sic:clc:s general
.26    and speci81 aamagr::s· ~ccording to proof but br:lie,ted to e ceed S250j,OOO: prcjudgm_ent illle st:; p niti re
27     damage;s, aml e ·ts.
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 Case 8:23-cv-01806-JVS-ADS Document 1-1 Filed 09/27/23 Page 5 of 8 Page ID #:8




 l                                                                   2,
 2                                                   GENERAL ALLEGATIONS


 4              9.       Plaintiff is and at lillU thn • ln:crtin ,1.dleg,ed, a . alifomia •imited Iii3ibility company,
 :5     or,gani.ttd and cx1stin undcrthc laws o,f-lhe State o CaJifomia,            'th its prundpw. p·!ace of'm.1:gifiess 1n
 6      Oran.ge County, Cali omia
 7              10.      'Defendant AA , is, and at .all times herein au gedt a. Ter es ee ,c-.orporaticm trthorlzed t,o
 8 do bus-iness in the Comty o-f Ou.a ~,~ 'Statlr:: of · ~ -'i omia.
 '9     B.      !}e[end~ts ''Age_!l,c.g._g·n d •·_ un:mir«!:
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12      of the riemaiin.rng d fertdan ' and, in doing the a.c •:-s herclrn ,frer Ueged were acting within he. scope of

I.3     such rcla.iion hip •d "· ith the, pennission, 0011s • • l ndlor rmification of his o it c·.cMiefe:ndamls..
1                12..      , o -die extent any ind.ividu •I defo .da.n is 011d w.as conductins • usiness through ~
15      corpomti.on, partnership~ lirni.tod lia.lbUity oompany~ or other en Uy, such individual d.e, endaru: .remains

I.6     pcrsorruH li ·ble fur any and all furuduimt ruxJ 'NfOllgful conduct earned on tl rough the 1L1sc ofthe

l7      el'.!ti ~ ; o further any nfaw ul -eu.its.
1,8.             13. Bach Defendant is jointly and seve:raU:,o· responsible for th oc-c:urrences her.em alJe ed i!IDd
19      that Plrurtti r damages he:rorn. alleged [ e d!            tly proximatd. caused b 1h-e. afore, enuon.ed
20      Defcndanti:i.
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23                                    [Fra.udulent·Mi:sr,epr,es nbtiou . gai-.wt Dofe1t1da.nt]
    4            l .      Plaintiff re.alleges paragraphs l through 13, irleh ive.
2                i.S.     Defendant AAN ,e. pres ly representccl to iPlai'ntiffil:m.t Defend,nt AA          com · ns~t,oo it.s
26      IA 's witll a1 60MO splifi, In fi :e•t. and 1.mkno1,,vn. to Plaimiff, ait th& time said DefimdmJl made such
27      rep    en.tation<6 to Pl intiff, D fondant w.as secretly taking \ itbou Plaintl:f s con~t I $ •2.50 couceait!d
.8      foe ftom eac tran&0ction. Defen<hmt .:ctually • e . t.11a· the 1cpreseritatians were roateriaUy false,



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 Case 8:23-cv-01806-JVS-ADS Document 1-1 Filed 09/27/23 Page 6 of 8 Page ID #:9




 l    R.&~her Defendant mad! • • t ch .faJ!se· represent~tiom inter alia solely ~o lnduee Pfa·' ntiff to,enter btto 1he
 2    Adljusror Agrcom.cm.t. Dcl'tnd1w;t knew that absenit such fa]s6 repr~sen.mtions. Plnintiff would not ba
 3    enteood into the Adjusl:e:r A:greeme.JU i' . laindff h:a.d kno"Ml ot the fi-audulent cc,, ·_ al went.
 4             16.      Plaiinti:ff was llI'taw.we of Defendants• "NIDngfi !. intent' oti. arid fals . oopr~ entmions and
 5    ri.rasonably tt:H~d. u_p • their p •mi:s:es aud rnpre:senmth'.!1; , Plahitiff did not disco . e:r Defendants' .fraud
 6, ~n'til 2023.
 7             17.      A:s a proxim:!ii't.t res.u]l of.Defendants' fallse r, pr,· enbtions Pfaintiffhas aixordingly
 8    .suffered general and spocial damag:es i.:n an .11111ost1.nt to be proved at triiii'I, bul b -lieved to be in ic:x.o . of
 9    $250 000. Pla.tmiff .is furdte:r·entitled to p!'Gjudg        t i itermit on a11 sums awarde<4 aoi:.o:rdini;; to proof at
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13    dann1ging Plaintiff; and :misappropriating ! , bintifi ·fund , Defendants:' ,conseioius.disregard of "Plaintiff
1.4   rights justifies an ac,.vard of punitive dmages in sum 'lo 'bo a\vmded tn tlie dbu..1',etion of tt uc jury.
15                                             SEC,OND C..,\U.
].6                                    [FT- udul'eort. Coocealment Apmst Defendant!

11             19.      PIRin:tiffrealle.ges paragrapm 1 through 18, inclush .
18             20.      De endarnt .ii~t(:ntionitlly failed o disclose to Plaintiff ·tmt1. i _wm;. taking a · 52.50
'19   c.oncealed ·foe from the represented 601-0 fee pl.it; a fact only known only to De enmmt .A.AN and hat
20    Phi.i nti ff oould rtot haye reasonably dis.cove-ml.
21             21 .     PUrs Ml to the ·lmnl'S of t:he Agre cmenl, Defendants bad an absolute du . to pmvide
22    preci:ie ,l.!lnd ,!.\Ccu.rate informati n to- Plaintiff. De!,endimts patently • iolat d that. duty by fra111d.cl~1tly
23    co ce~ling the $.52.50 fe-e fton1 Plahtllff fo the purpose ofittdu.cin,g Plaintiff ·o ,entet • uo ·lhe Adju te.r~s
24     ••. greement:. If Pl.aimiff had '.k:nmvn the true fact- of Defendants' coneeal ne.nt 1t wouM new              ave
25    entered into . Adj ter~s A:gr,cemeo , Plaintiff on_y discmvered • ese t'aclll!. in 202.3.
2i6            22.      As a consequenoe. of De1fendanti' fm.uduil.ent oo:nciealm.ent, P:!a~ntiff is: entitled to . neml
27    ruid special damageg according to proof al \r:la! but bc'lievedl lO ex.ce-cd 2:50,000. Plaintiff is: furth r
28    ,en Llled to prejudgment ' teresl om all :sums,awarded,


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                                                             COM_PL-AfN .
Case 8:23-cv-01806-JVS-ADS Document 1-1 Filed 09/27/23 Page 7 of 8 Page ID #:10




               23.      D -fe.ndan, -conduct i rnalJciousi, -raudt!Jlep,t and -oppressive; carried out with t -e
2       rron,gft!I i tention of intlfotinrg serio _ financ.iru damage upon Plamtiff. As a ~:nsequence of
 J     D ferulants' wro -gful ool!ld ct, }>I.run ·er· entitled to an award ,o f punith·c dmmige~ v,;itl'dn 'lb •discrnlio.n
 4-    ohhejury.
5                                               TUIRDCAU · • 0FACTION
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 7             2 .                                                        n-clu i e.
                      P ain'tilf re..idleges parasgrarphs 1 thmng'l'1. 23 m
 8               5.   P.enru Code § 496 (c) prnvide:s, ttmtt a Plaintiff ·ho e property is stole.IJ can bring 0. ci.vil
 9     suit for dama: es agBiiliLSt fuc party wh misapprop rated P']aiintifT's p:ro~ny. Plaintiff can ri ce i, 1; up to
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10     lhl;:c ·'mes the amoun,t of the funds misappropria.t di (or the actual marke value ofth property s oleo),
l]     th co     of b_ill ing suit; and ooii-so.na.hle attome - fi_ s. Defi ndants wrong.ful conduct alleged here-in.
1      const itutes th _ft; Defendant MN cone         ed and misti!pp:mpriarod appro ,in11a:tely $2SO!mm in conooaf d
13     unautho'l'ized 'ftre3. ' The fun _      re wro:ngfnlly di.v,erted ,aruf m.is"used by Deferu:bmt A _F:mai11.1ifrs are
14      '-oo:rdi g -. ent"tlre ,to no less than ·2:sotocm 1n damages trebled; attome.. s e ; and prejudgment
 5     interest pursuant to§ 496(c},
J,6                                            fflUR1'lI C.!\ USE O~ A - T ON
l7                                          [Breach of Contract Aga:IDi l D _fendant]
18              26.     Plaind     rea.11 e paicagn~p-hs I lh.rou h 24 mdusive.
19              27.     Pfo1intiffha.-s perthnned rul o' ligat ions 'l o be p,erformed under lhe Adjuster's ASJtlt:ment
20     Viith Defend     l. except to the extent such obligmtiom have bC4.:ll e eusedl as a r--esul of Uefendan't's prior

21     mated _J breach ·anrl/or anlieip~tory 'breach.
2'2             28.      B_ , rea on of :1e- refu.sail by Defendant to pc.rfonn pursuant io 'the terms of the Adjustefs

23     Agr--.c:emc::nt .Defendant !ms ma,crially bl'teadhed th · Ag eern,ent.
2,              29.      As a proxlma.t¢ ce.use of th Defendoo1f s bmach of oontr.act~ PlainMff l~s been d - ~ged
.. S   in a .amoom believed ro be in ex.ooss o:f $250 ,000 ae&ording, to proof al triaL Piaintiff is fu.rt1her entitled


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Case 8:23-cv-01806-JVS-ADS Document 1-1 Filed 09/27/23 Page 8 of 8 Page ID #:11




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    8            3.
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rn               5.       For costs of sui.t he.rein in il.nied; aind.
11               6,       For s.u-c other and frn1hc-r r--alicf ,- • I.hr; comt may deem pro:pel".
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I.6     DA . . D: August 14., 202 •                          B· ·· ~--1C'f.a~'----l::---::-- - --       --
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